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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

                                      *

UNITED STATES OF AMERICA,             *

vs.                                   *
                                           CASE NO. 4:15-cr-19-CDL-MSH-1
DYREHLL LESHAUN DAVIS,                *

       Defendant.                     *

                                      *


                                 O R D E R

       After a de novo review of the record in this case, the Report

and Recommendation filed by the United States Magistrate Judge on

July 12, 2021 is hereby approved, adopted, and made the Order of

the Court, including the denial of a certificate of appealability.

       The Court considered Defendant’s objections to the Report and

Recommendation and finds that they lack merit.

       IT IS SO ORDERED, this 12th day of October, 2021.

                                          S/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA
